                  Case 3:16-cr-00227-SI Document 127 Filed 06/20/24 Page 1 of 2




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13
                                        UNITED STATES DISTRICT COURT
14
                                     NORTHERN DISTRICT OF CALIFORNIA
15
                                            SAN FRANCISCO DIVISION
16

17   UNITED STATES OF AMERICA,                          ) NO. CR 16-00227-SI-5
                                                        )
18             Plaintiff,                               ) STIPULATION RE SENTENCING DATE AND
                                                        ) [PROPOSED] ORDER
19        v.                                            )
                                                        )
20   ALEXANDER VINNIK,                                  )
                                                        )
21             Defendant.                               )
                                                        )
22

23
               Sentencing is set in this matter for July 12, 2024, at 11:00 a.m. The parties have met and
24
     conferred and agree to continue sentencing for a period of six months, to January 17, 2025, at 11:00 a.m.
25
     The parties have confirmed that this date is available for the Court and for the assigned Probation
26
     Officer. The parties therefore respectfully request that the Court grant the requested continuance.
27
     //
28

     STIPULATION RE SENTENCING DATE AND PROPOSED ORDER
     Case No. CR 16-00227-SI-5                                                                    v. 7/10/2018
               Case 3:16-cr-00227-SI Document 127 Filed 06/20/24 Page 2 of 2




 1          Undersigned government counsel certify that they have obtained approval from counsel for the

 2 defendant to file this stipulation and proposed order.

 3

 4   IT IS SO STIPULATED.                                   ISMAIL J. RAMSEY
                                                            United States Attorney
 5

 6
     DATED: June 20, 2024                                   __/s/___________________________________
 7
                                                            KATHERINE LLOYD-LOVETT
 8                                                          Assistant United States Attorney
                                                            CLAUDIA QUIROZ
 9                                                          C. ALDEN PELKER
                                                            Trial Attorneys, CCIPS Assistant United States
10                                                          Attorney
11
     DATED: June 20, 2024                                         /s/                 ___
12                                                          ARKADY BUKH
13                                                          ALEKSANDR GRUZMAN
                                                            Counsel for Defendant ALEXANDER VINNIK
14

15

16                                           [PROPOSED] ORDER

17          Based upon the facts set forth in the stipulation of the parties and for good cause shown, the

18 Court vacates the sentencing hearing currently set for July 12, 2024, and ORDERS that sentencing in
19 this matter shall be set to take place on January 17, 2025, at 11:00 a.m.

20          IT IS SO ORDERED.

21

22 DATED: ___________________                                     ___________________________
                                                                  HON. SUSAN ILLSTON
23                                                                United States District Judge

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     STIPULATION RE SENTENCING DATE AND PROPOSED ORDER
     Case No. CR 16-00227-SI-5                                                                  v. 7/10/2018
